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                                   UNITED STATES JUDICIAL PANEL
                                                on
                                    MULTIDISTRICT LITIGATION

IN RE: ORAL PHENYLEPHRINE MARKETING AND
SALES PRACTICES LITIGATION                                                                       MDL No. 3089



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −9)



On December 6, 2023, the Panel transferred 8 civil action(s) to the United States District Court for the
Eastern District of New York for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. §
1407. See _F.Supp.3d_ (J.P.M.L. 2023). Since that time, 84 additional action(s) have been transferred to the
Eastern District of New York. With the consent of that court, all such actions have been assigned to the
Honorable Brian M. Cogan.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Eastern District of New York and assigned to Judge Cogan.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of New
York for the reasons stated in the order of December 6, 2023, and, with the consent of that court, assigned to
the Honorable Brian M. Cogan.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Eastern District of New York. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:




                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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IN RE: ORAL PHENYLEPHRINE MARKETING AND
SALES PRACTICES LITIGATION                                           MDL No. 3089



                     SCHEDULE CTO−9 − TAG−ALONG ACTIONS



  DIST       DIV.      C.A.NO.     CASE CAPTION


ILLINOIS NORTHERN

  ILN         1       23−13879     Riccio v. RB Health (US) LLC
